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ATTORNEY FOR DEBTOR

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                           §
                                                 §
PREFERRED READY-MIX LLC,                         §           CASE NO. 21-33369
                                                 §
        Debtor.                                  §                   Chapter 11

                                   NOTICE OF EFFECTIVE DATE

        PLEASE TAKE NOTICE that on February 24, 2022, the Court confirmed the Debtor’s

First Amended Plan of Reorganization Under Subchapter V of Chapter 11 [Docket No. 102].

Allison Bynum has been appointed as the Plan Agent and is deemed to be the Debtor’s sole

representative in accordance with Section 1123 of the Bankruptcy Code relating to Receivables

and shall have all powers, authority, and responsibilities specified in the Plan, including, without

limitation, the powers of a trustee under Section 704 and 1106 of the Bankruptcy Code relating to

Receivables only.

        PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on

March 26, 2022.

        PLEASE TAKE FURTHER NOTICE that the deadline for professionals to file a final fee

application with the Bankruptcy Court is May 25, 2022.

        PLEASE TAKE FURTHER NOTICE that the deadline for any other person or entity who

claims to hold an Administrative Expense Claim to file an application with the Bankruptcy Court

is May 25, 2022.

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        PLEASE TAKE FURTHER NOTICE that the deadline for any party authorized by the

Bankruptcy Code to object to the allowance of prepetition Claims is May 25, 2022.

        Dated: March 29, 2022.
                                                     Respectfully submitted,

                                                        /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer
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                                                     PROPOSED ATTORNEY FOR DEBTOR



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 29, 2022, a true and correct copy of the
foregoing document was served via United States first class mail, postage prepaid, upon the parties
on the attached service list.

                                                        /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer




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